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FOR THE wEsTERN DISTRICT oF TENNEssEE CERK- U#q§"g§. GQULD

 

 

WESTERN DIVISION W/D Oj; ““HQWT

JAMES SULLIVAN )

Plaintiff, )
vs. ) No. 05-2406-DV
BOYD GAMING CORPORATION )
d/b/a SAM’S TOWN CAS]NO TUNICA,
MISSISSIPPI GAMING COMMISSION, )
WILLIAM ANDERSON, individually and
in his capacity as Sam’s Town Employee, )
PAT HAWK_[NS, individually and in his
capacity as a Mississippi Gaming Official, )
and FAYE PERKINS,

Defenda:nts. )

SCHEDULING ORDER

 

Prior to the scheduling conference set on Thursday, August 25, 2005, James R.
Nowlin, counsel for plaintiff, Melanie N. Beckham, counsel for Boyd Gaming Corporation and
William Anderson, and Billy C. Campbell, Jr., counsel for Pat Hawkins and Faye Perkins
conferred and agreed on dates which Were submitted to the Honorable Diane K. Vescovo for
approval Aiter reviewing the proposed Scheduling order submitted by James R. Nowlin,
Melanie N. Beckham, and Billy C. Campbell, the following dates were established as final dates
for:

INITIAL olscLosUREs PURsUANT To Fed. R. Civ. P. zb(a)(l): september 8, 2005.
JOINING PARTIES; october 24, 2005.
AMENDING PLEADINGS: october 24, 2005.

 
 
 

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INITIAL MOTIONS TO DISMISS: November 23, 2005.
COMPLETING ALL DISCOVERY: April 20, 2006.
(a) DOCUMENT PRODUCTION: April 20, 2006
(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR ADMISSIONS:
April 20, 2006
(c) EXPERT WITNESS DISCLOSURE (Rule 26): February 20, 2006
(1) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT ]NFORMATION: February 20, 2006
(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT INFORMATION: March 20, 2006
(3) EXPERT WITNESS DEPOSITIONS: April 20, 2006
FILING DISPOSITIVE MOTIONS: May 19, 2006
OTHER RELEVANT MATTERS:
No depositions may be scheduled to occur after the discovery cutoff date. All
motions, requests for admissions, or other filings that require a response must be filed

sufficiently in advance of the discovery cutoff date to enable opposing counsel to respond by the
time permitted by the Rules prior to that date,

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived.

This case is set for jury trial, with the exception of any claims subject to the
Mississippi Tort Claims Act CMiss. Code Ann. § 11-46-1 et. seq.) which shall be heard and
determined by the judge of the court. The trial is expected to last 5 day(s). The pretrial order
date, pretrial conference date, and trial date will be set by the presiding judge.

This case is appropriate for ADR. The parties are directed to engage in court-
annexed attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule Il(a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither
party may file an additional reply, however, without leave of the court. If a party believes that a
reply is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum
setting forth the reasons for Which a reply is required

The parties have not consented to trial before the magistrate judge.

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This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order will not be modified or
extended.

IT IS SO ORDERED.

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DIANE K. VESCOVO
UNTIED STATES MAGISTRATE JUDGE

DATE;_@?M.¢- aa.¢?aos'

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:05-CV-02406 was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

